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                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                      UNITED STATES DISTRICT COURT

            12                                  NORTHERN DISTRICT OF CALIFORNIA

            13
            14       WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                   PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                                    TO RESCHEDULE CASE MANAGEMENT
            16                                                      CONFERENCE UNDER LOCAL RULES 7-11
                                      Plaintiffs,                   & 16-2(D)
            17
                            v.
            18                                                      Hon. Jacqueline S. Corley
                     NSO GROUP TECHNOLOGIES LIMITED
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                        Defendants.

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                                                                             PLAINTIFFS’ MOTION TO RESCHEDULE CMC
  COOLEY LLP
ATTO RNEY S AT LAW                                              1                             CASE NO. 3:19-CV-07123
 SAN FRA NCI S CO
                           Case 4:19-cv-07123-PJH Document 16 Filed 01/07/20 Page 2 of 3



              1             Plaintiffs WhatsApp Inc. and Facebook, Inc. now move this Court under Local Rules 7-11

              2      and 16-2(d) to reschedule the Case Management Conference currently scheduled for January 30,

              3      2020, at 3:00 p.m. to January 27, January 28, or February 13 at 1:30 p.m., or another date at the

              4      Court’s convenience.

              5             Plaintiffs filed this action against Defendants NSO Group Technologies Ltd. and Q Cyber

              6      Technologies Ltd., both foreign corporations, on October 29, 2019. Plaintiffs seek injunctive relief

              7      and damages for Defendants’ unauthorized use of Plaintiffs’ servers to send malware to conduct

              8      illegal surveillance against a broad array of people, including attorneys, journalists, human rights

              9      activists, government officials, and others in April and May 2019. ECF No. 1. When Plaintiffs

            10       discovered this misconduct in May 2019, they stopped Defendants’ improper access to the

            11       WhatsApp’s service and computers. Id.

            12              After filing the Complaint, Plaintiffs promptly sought to serve Defendants under the Hague

            13       Convention, which was effected on December 17, 2019. 1 Declaration of Joseph D. Mornin (“Mornin

            14       Decl.”) ¶ 2. Plaintiffs also contacted Defendants via email, physical mail, and hand service, but have

            15       not received any response. Id. ¶¶ 3–5. As of the date of this filing, no counsel has entered an

            16       appearance in this matter on Defendants’ behalf, nor have Defendants filed an answer to the

            17       Complaint. Thus, Plaintiffs cannot fulfill their obligations under the Court’s initial case management

            18       scheduling order (ECF No. 9), including the obligations to meet and confer regarding initial

            19       disclosures, early settlement, ADR process selection, and a discovery plan. A short continuance of

            20       the case management conference is therefore warranted. In addition, Plaintiffs’ counsel Travis

            21       LeBlanc and Daniel Grooms have a scheduling conflict on January 30, 2020.

            22              For the reasons described above, Plaintiffs have been unable to obtain Defendants’ consent to

            23       this scheduling change. Mornin Decl. ¶ 7.

            24              No previous time modifications have been requested in this case. The requested modification

            25       would not have any effect on the schedule in this matter, as the Court has not entered a case schedule

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                      Plaintiffs are currently awaiting the issuance of a formal certificate of Hague service from the Central
            28       Authority.
                                                                                    PLAINTIFFS’ MOTION TO RESCHEDULE CMC
  COOLEY LLP
ATTO RNEY S AT LAW                                                     2                             CASE NO. 3:19-CV-07123
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              1      and Defendants have not yet appeared.

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              3      Dated: January 7, 2020                  Respectfully submitted,
              4                                              COOLEY LLP
              5
              6                                               /s/ Travis LeBlanc
                                                              Travis LeBlanc
              7                                               Daniel J. Grooms
                                                              Kyle C. Wong
              8                                               Joseph D. Mornin
              9                                               Attorneys for Plaintiffs
                                                              WHATSAPP INC. and FACEBOOK, INC.
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ATTO RNEY S AT LAW                                              3                            CASE NO. 3:19-CV-07123
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